

People v Gonzalez (2023 NY Slip Op 50472(U))



[*1]


People v Gonzalez (Henry)


2023 NY Slip Op 50472(U)


Decided on May 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, Michael, JJ.



570086/18
18-334,

The People of the State of New York, Respondent,
againstHenry Gonzalez, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Lyle E. Frank, J. at trial and sentencing; Phyllis Chu, J. at resentencing), rendered August 15, 2018, after a nonjury trial, convicting him of harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Lyle E. Frank, J. at trial and sentencing; Phyllis Chu, J. at resentencing), rendered August 15, 2018, affirmed.
The verdict convicting the defendant of harassment in the second degree (see Penal Law § 240.26[1]) was supported by legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). The evidence, including photographs of the victim's injuries, established that defendant slapped the victim's face during a domestic dispute and did so with the intent to harass, annoy or alarm (see Penal Law § 240.26; People v Mack, 76 AD3d 467, 468 [2010], lv denied 15 NY3d 922 [2010]). Inconsistencies in the witness's testimony and other matters bearing on credibility were properly placed before the trier of fact, and we find no reason to disturb its determination.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 16, 2023









